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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
JENICE ANDREWS,
Plaintiff,
CASE NO.: 6:14-CV-2116-ORL-37KRS
-VS_
COl\/IENITY BANK,
Defendant.

/
NOTICE OF PENDING SETTLEMENT
Plaintiff, Jenice Andrews, by and through his undersigned counsel, hereby submits this
Notice of Pending Settlement and states that Plaintiff and Defendant, Comenity Bank, have
reached a settlement With regard to this case and are presently drafting, tinalizing, and executing
the settlement and dismissal documents Upon execution of the same, the parties Will file the

appropriate dismissal documents With the Court.
Dated this 16th day of July 2015.

/s/ William Peerce Howard
William Peerce Howard, Esquire

Morgan & Morgan, P.A.
One Tampa City Center

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Florida Bar #: 0103330
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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this léth day of July, 2015, a true and correct copy of the
foregoing has been filed With, and provided to all counsel of record, via the Court’s CM/ECF

system.

/s/ William Peerce Howard

 

William Peerce Hovvard, Esq.
Florida Bar #: 0103330

